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                      UNITED STATES DISTRICT COURT F0R THE
                          SOUTHERN DISTRJCT OF FLORIDA

                         CaseNum ber:11-20279-CR-M ARTlNEZ

 UNITED STATES OF AM ERICA,

        Plaintiff,


  ANASTASSIA USAKOVA,

        Defendant.
                                            /
       O RDER ADOPTING M AGISTM TE'S REPORT AND RECOM M ENDATION

        THIS CAUSE cam ebeforetheCourtupontheReportandRecomm endationissuedbyunited

 StatesM agistrateJudgePeterR.Palermo,on M arch 14,2012.The Reportand Recom mendations

  recom mendstothisCourt,thatcounselAna M .Davide,Esquire be paid $21,637.50 asafairand

  finalcompensationforherwork in thiscase.Accordingly,the Courthasconsidered theReportand

  Recommendations,and thepertinentpartsofthe record,counsel'sobjectionsto the reportand
  recomm endation ofM agistrate Judge Palermo. Based on the reasonsstated in the Reportofthe

  M agistrateJudge,and upon independentreview ofthe file and beingotherwisefully advised in the


  premises,itis
         ORDERED AND ADJUDGED thatUnited States M agistrate Judge Peter R.Palermo's

  Reportand Recomm endation ishereby ADOPTED and AFFIRM ED.

         DONE AND ORDERED inChambersatM iamiFlorida,this lb dayofApril,2012.

                                                             (           '
                                                    JOSE    M A TINE
                                                    UNITV STATES ISTRICTJUDGE

   Copiesprovided to:
   M agistrateJudgePeterR.Palerm o
   AnaM .Davide,Esq
   LucyLara,CJA Adm inistrator
